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 1                                                                             The Honorable Judge Settle
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 7                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                      AT TACOMA
 9   LAURA L. TIMLICK,                                )
                                                      )    No. 16-05797-BHS
10                          Plaintiff,                )
                                                      )
11           v.                                       )    MOTION BY RCO LEGAL, P.S. TO
                                                      )    WITHDRAW AS COUNSEL FOR
12   BANK OF AMERICA, N.A., a foreign                 )    DEFENDANT NORTHWEST TRUSTEE
     corporation; RESIDENTIAL CREDIT                  )
13   SOLUTIONS, INC., a foreign corporation;          )    SERVICES, INC.
     THE BANK OF NEW YORK MELLON, fka                 )
14   The Bank of New York, as Trustee for the         )    NOTING DATE: DECEMBER 22, 2017
     Certificateholders of CWMBS, Inc., CHL           )
15   Mortgage Pass-Through 2007-10, a national        )
     association; RENEE M. PARKER, a resident         )
16   of California; and NORTHWEST TRUSTEE             )
     SERVICES, INC., a Washington corporation,        )
17                                                    )
                             Defendants.              )
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                                              I.      MOTION
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            Pursuant to LR 83.2, RCO Legal, P.S. (“RCO”) moves to withdraw as counsel for
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     Defendant Northwest Trustee Services, Inc. (“NWTS”) in the above-entitled action. The
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     withdrawal is at the client’s request for the reasons set forth herein.
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                                            II.     ARGUMENT
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            The undersigned has been informed that RCO Legal, P.S. is closing all offices in
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     Washington and nationwide, and his employment with RCO Legal, P.S. will be terminated as of
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     December 12, 2017. NWTS has been informed of the firm’s closure as well as the
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     MOTION BY RCO LEGAL TO WITHDRAW
     AS COUNSEL FOR DEFENDANT NWTS
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 1   consequences of the proposed withdrawal from representation, and as client, has consented to the
 2   withdrawal.
 3          Pursuant to LR 83.2(1), the address for further pleadings and/or correspondence to be
 4   served upon NWTS in this case is: c/o General Counsel, 13555 S.E. 36th St., Ste. 100, Bellevue,
 5   WA 98006, with a phone number of 425-586-1900.
 6          As shown in the attached declaration of service, NWTS has been provided with a copy of
 7   this Motion and the proposed order.
 8                                         III.   CONCLUSION
 9          For the foregoing reasons, RCO respectfully submits that this Motion to Withdraw should
10   be granted.
11          DATED this 6th day of December, 2017.
12
                                                  RCO LEGAL, P.S.
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14
                                                  By: _/s/ Joshua S. Schaer___              ______
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                                                      Joshua S. Schaer, WSBA #31491
16                                                    Attorney for Defendant Northwest Trustee
                                                      Services, Inc.
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     MOTION BY RCO LEGAL TO WITHDRAW
     AS COUNSEL FOR DEFENDANT NWTS
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 1                                        Declaration of Service
 2   The undersigned makes the following declaration:
 3   1.     I am now, and at all times herein mentioned was a resident of the State of Washington,
 4   over the age of 18 years and not a party to this action, and I am competent to be a witness herein.
 5   2.     On December 7, 2017 I caused a copy of the MOTION BY RCO LEGAL, P.S. TO
 6   WITHDRAW AS COUNSEL FOR DEFENDANT NORTHWEST TRUSTEE SERVICES, INC.
 7   and PROPOSED ORDER to be served to the following in the manner noted below:
 8   V. Omar Barraza                                  [X] US Mail, Postage Prepaid
     Barraza Law, PLLC                                [ ] Hand Delivery
 9   14245-F Ambaum Blvd. SW                          [ ] Overnight Mail
     Seattle, WA 98166                                [ ] Facsimile
10                                                    [X] CM/ECF Electronic Service
11   Attorneys for Plaintiff
     Michael J. Kapaun                                [X] US Mail, Postage Prepaid
12   Steven J. Dixson                                 [ ] Hand Delivery
13   Witherspoon Kelley                               [ ] Overnight Mail
     422 W. Riverside Ave., Suite 1100                [ ] Facsimile
14   Spokane, WA 99201                                [X] CM/ECF Electronic Service

15   Attorneys for Defendants Bank of America,
     N.A. and The Bank of New York Mellon
16
     Northwest Trustee Services, Inc.          [ ]        US Mail, Postage Prepaid
                  th
17   13555 S.E. 36 St., Ste. 100               [X]        Hand Delivery
     Bellevue, WA 98006                        [ ]        Overnight Mail
18                                             [ ]        Facsimile
     Defendant
19
     Lucasz I. Wozniak                           [X]      US Mail, Postage Prepaid
20   Wright Finlay & Zak, LLP                    [ ]      Hand Delivery
     4665 MacArthur Court, Suite 200             [ ]      Overnight Mail
21   Newport Beach, CA 92660                     [ ]      Facsimile
                                                 [ ]      Email
22
     Attorneys for Defendants Residential Credit [X]      CM/ECF Electronic Notice
23   Solutions, Inc. and Renee Parker

24   //

25   //

26   //


     MOTION BY RCO LEGAL TO WITHDRAW
     AS COUNSEL FOR DEFENDANT NWTS
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 1          I declare under penalty of perjury under the laws of the state of Washington that the
 2   foregoing is true and correct.
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     Signed this 7th day of December, 2017.
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                                               /s/ Ali Small
 6                                             Ali Small, Paralegal

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     MOTION BY RCO LEGAL TO WITHDRAW
     AS COUNSEL FOR DEFENDANT NWTS
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